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                          UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

   UNITED STATES OF AMERICA,
            Plaintiff,

   v.                                        Case No. 8:22-cr-296-WFJ-NHA


   STEPHEN SHERLOCK
              Defendant.
   _______________________________

           UNOPPOSED MOTION TO CONTINUE/RESCHEDULE
                     SENTENCING (IN TRIAL)

          COMES NOW the Defendant, STEPHEN SHERLOCK, by and

   through undersigned counsel and files this Unopposed Motion to

   Continue/Reschedule Sentencing (in Trial) briefly stating:

          1.     The underlying sentencing in this case is set for November 7,

   2024. (Doc. 98).

          2.     Undersigned counsel, as well as counsel for the United States,

   will be in a drug conspiracy trial commencing on November 4, 2024.

          3.     Defendant respectfully moves to continue/reschedule the

   sentencing in Sherlock for perhaps November 14 or 15, 2024, or sometime

   shortly thereafter.

          Respectfully submitted this 3rd day of November, 2024.
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                                      IRVIN LAW FIRM


                                      /s/ Grady C. Irvin, Jr.
                                      ____________________________
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                                      P.O. Box 4587 (mailing)
                                      Plant City, Florida 33563
                                      Telephone: 813.659.2000
                                      grady@irvinattorneys.com

                       CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 3rd day of November, 2024 a true
   and correct copy of the foregoing was provided via CM/ECF to:

   Samantha Elizabeth Beckman, AUSA

                                IRVIN LAW FIRM


                                /s/Grady C. Irvin, Jr.
                                _________________________
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